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15
                                UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA

17   IN RE LITHIUM ION BATTERIES
     ANTITRUST LITIGATION,                             Case No. 13-md-02420-YGR
18
                                                       INDIRECT PURCHASER PLAINTIFFS’
19
                                                       REPLY IN SUPPORT OF MOTION FOR
20                                                     APPROVAL OF SETTLEMENT
                                                       PURSUANT TO FED. R. CIV. P.
21                                                     23(e)(5)(B)
22
     This Document Relates to:                         Date: March 1, 2022
23                                                     Time: 2:00 pm
     ALL INDIRECT PURCHASER ACTIONS                    Judge: Hon. Yvonne Gonzalez Rogers
24                                                     Court: Courtroom 1, 4th Floor
25

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     IPPs’ Reply in Support of Motion to Approve Settlement Pursuant to Fed. R. Civ. P. 23(e)(5)(B);
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 1                                           INTRODUCTION
 2           Almost eight years into this complex multidistrict litigation, and following multiple
 3   rounds of settlements and appeals in which the settlements have been thoroughly examined, the
 4   class’s interest favors resolving the last objection impeding distribution of the Round 2
 5   settlements. The Court should reject Objector Bednarz’s unsupported and contradictory
 6   arguments against approval of the proposed settlement with Objector Christopher Andrews (ECF
 7   No. 2728-2) (the “Andrews Settlement”).
 8   I.      The Andrews Settlement Benefits the Class
 9           The Andrews Settlement benefits the class by expediting settlement distribution without
10   decreasing the settlement fund that is available to the class. In exchange for a payment of
11   $25,000, Objector Andrews has agreed to withdraw his objections and dismiss his appeal, which
12   focuses solely and narrowly on this Court’s approval of a 90%/10% plan of allocation for the
13   Round 2 settlements.1 That withdrawal will dispose of the only remaining obstacle to distribution
14   of the settlement to class members. Moreover, Class Counsel would effectuate the payment of
15   $25,000 from its own funds—with zero impact on the settlement funds to be paid to class
16   members. Further, as explained in IPPs’ Motion, the Andrews Settlement is justified under legal
17   authority that permits compensation to objectors who invest time and energy in assisting in the
18   framing of issues for the Court. See Mot. at 6-7. Approval of the proposed Andrews Settlement is
19   therefore appropriate under Rule 23(e)(5)(B).2
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21
     1
       See Am. Informal First Br. on Cross-Appeal, Indirect Purchaser Plaintiffs v. Andrews, No. 21-
22   15138 (9th Cir.), ECF No. 37. Although Andrews initially cited, in his Notice of Appeal, this
     Court’s Order regarding Attorney’s Fees, Expenses, and Service Awards (ECF No. 2696), he has
23   not argued on appeal to the Ninth Circuit that this Court erred in awarding fees, expenses, and
     service awards.
24   2
      See Order at 3, In re Volkswagen Timing Chain Prod. Liab. Litig., No. 16-cv-02765 (D.N.J. Feb.
25   19, 2019), ECF No. 250 (approving payment where “14,635 claims have been filed by Class
     Members but distribution of approved settlement funds is delayed until the Objectors/Appellants’
26   appeals are resolved”); Jt. Mot. for Indicative Ruling at 2-4, In re Dental Supplies Antitrust Litig.,
     No. 16-cv-00696 (E.D.N.Y. Oct. 8, 2019), ECF No. 344 (seeking approval of settlement with
27   objector because payment would permit distribution of settlement funds without further delay),
     granted Dental Supplies, No. 16-cv-00696 (E.D.N.Y. Oct. 17, 2019) (docket text entry).
28
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 1             Bednarz characterizes Andrews’s current appeal as “frivolous,” “vexatious,” and “having
 2   zero chance of success.” Opp. 1.3 That is an easy view to take from the sidelines. Bednarz has
 3   nothing at stake here; Bednarz prefers to spend his time requesting that the Ninth Circuit increase
 4   the fee award this Court previously awarded his counsel. So be it—this question apparently has
 5   far more import for Bednarz. However, all litigation involves risk, and even apparently
 6   “frivolous” appeals do too. Even if Andrews’s appeal has only a 1% chance of success, the result
 7   would be a total loss for the class because given this Court’s orders denying certification of a
 8   litigation class there is no “better deal” to be had on remand. Bednarz’s remedy of rejecting the
 9   Andrews Settlement would harm the class by forcing class counsel to expend time and money
10   defending an appeal that, if successful, would deprive the class of tens of millions of dollars in
11   recovery. $25,000 is a fair price to pay for avoiding those risks and costs. Bednarz’s alternative
12   remedy of “disgorging” the money into the class fund is incoherent; if Andrews does not receive
13   the consideration owed for the settlement, he has the right to reinstate his appeal.
14             Bednarz’s citation to a Seventh Circuit case, Pearson v. Target Corp.,4 is unavailing.
15   Pearson differs from this case in four key respects. First, unlike the funds paid to individual
16   objectors in Pearson, the settlement payment here does not come from the settlement fund, nor
17   have Defendants advanced additional funds for paying Andrews. Indeed, the Andrews Settlement
18   does not affect the settlement fund at all. Because Andrews’ appeal does not challenge Class
19   Counsel’s Court-approved attorney’s fees, and it would not materially change the total amount of
20   settlement funds available to class members, the proposed payment does not “consist[] of savings
21   that ought to have enured to the class.”5 Second, in Pearson, the Seventh Circuit was concerned
22   that “[a] potential benefit for the class—a better settlement—[wa]s leveraged for a purely
23   personal gain [for the objectors] . . . .”6 That is not the situation here where Andrews’ appeal, if
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         968 F.3d 827 (7th Cir. 2020).
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     5
         Id. at 836.
27   6
         Id. at 831.
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     _____________________________________________________________________________
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 1   successful, would undo the settlement leading to no recovery for the class or, even if
 2   unsuccessful, would delay distribution of the settlement. Third, unlike in Pearson and as
 3   explained in IPPs’ Motion, the Andrews Settlement is justified by legal authority permitting
 4   compensation to objectors who invest time and energy assisting the framing of issues for the
 5   Court. Fourth, the proposed payment to Andrews here (which is equivalent to 0.00056 percent of
 6   the Round 2 settlement fund and is not drawn from that fund) is de minimis and pales in
 7   comparison to $130,000 in total settlement amounts at issue in Pearson (which amounted to 1.7
 8   percent of the settlement fund and was drawn in part from the settlement itself).
 9            The other off-point, out-of-circuit authorities Mr. Bednarz cites are similarly unavailing.
10   In Drazen v. Godaddy.com, LLC, the trial court disapproved of what class counsel called an
11   incentive award to the objector because, following an outlier decision two years ago, the Eleventh
12   Circuit does not permit incentive awards even to appointed named plaintiff class representatives.7
13   That is not the law in the Ninth Circuit.8 And, this is not an award being paid from class funds.
14   The Drazen decision similarly rejected a request for $375,000 in attorneys’ fees because, under
15   the facts of that case, the payment appeared excessive.9 Here, in contrast, for all of the reasons
16   stated above and in IPPs’ Motion, the proposed payment to Objector Andrews is not excessive.
17   Finally, in Rougvie v. Ascena Retail Grp., Inc.,10 the court merely noted the unremarkable fact of
18   the 2018 amendments and that the much larger proposed payment there at issue occurred prior to
19   the amendment date, and on that basis declined to scrutinize the payment at all. These authorities
20   do not require disapproval of this proposed settlement.
21            Bednarz invokes guidelines and an article critical of objector payments. Of course, the
22   Rule 23(e) amendment reflects and implements a policy to discourage objections interposed to
23
     7
      See No. 1:19-00563-KD-B, 2021 WL 1881648 (S.D. Ala. Apr. 22, 2021) (citing Johnson v.
24   NPAS Solutions, LLC, 975 F.3d 1244 (11th Cir. 2020) (finding that class representative incentive
     awards were not permitted based on authority from 1882 and 1885).
25
     8
         Order, ECF No. 2681 at 40 (citing Staton v. Boeing, 327 F.3d 938, 977 (9th Cir. 2003)).
26
     9
         Drazen, 2021 U.S. Dist. LEXIS 77525 at *8-11.
27   10
          No. 15-724, 2019 WL 944811 (E.D. Pa. Feb. 21, 2019).
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     _____________________________________________________________________________
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 1   hold up class settlements, a policy that class counsel have promoted and with which they agree.
 2   Here, however, in the parlance of the article Bednarz refers to,11 the “fair price” proposed to
 3   eliminate “objector blackmail” is de minimis and does not reduce the class’s benefit. While it
 4   might be wished otherwise, de minimis settlements like this one are at times the best alternative in
 5   a system that can still be exploited by objectors threatening the interests of the class.
 6   II.      Bednarz Lacks Article III Standing
 7            Bednarz also does not have standing to challenge the settlement. Article III standing
 8   limitations apply to proposed settlements requiring court approval under Rule 23. See Frank v.
 9   Gaos, 139 S. Ct. 1041, 1046 (2019). As the Supreme Court stated in Spokeo v. Robins, 578 U.S.
10   330 (2016), Article III standing is a “doctrine rooted in the traditional understanding of a case or
11   controversy.” Id. 338. The doctrine limits the parties capable of invoking the jurisdiction of the
12   federal courts in seeking redress for a legal wrong. Valley Forge Christian College v. Americans
13   United for Separation of Church and State, 454 U.S. 464 (1982). Under the Supreme Court’s
14   Article III analysis, the “irreducible constitutional minimum” of standing consists of three
15   elements. Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992). The party seeking to establish the
16   court’s jurisdiction must have (1) suffered an injury in fact, that is (2) fairly traceable to the
17   challenged conduct, and (3) likely to be redressed by a favorable judicial decision, id. 560-561;
18   and additionally has the burden of affirmatively establishing each of these elements. FW/PBS,
19   Inc. v. Dallas, 493 U.S. 215 (1990).
20            Here, Mr. Bednarz cannot establish any of the Article III standing requirements necessary
21   to challenge the proposed Rule 23(e)(5)(B) settlement. Mr. Bednarz has identified no injury in
22   fact, to him or other unnamed class members, that would result were the Court to approve the
23   proposed resolution with Objector Andrews to facilitate settlement distribution here. Mr. Bednarz
24   therefore is not legally aggrieved by Objector Andrews no longer pursuing his objection. If
25

26   11
       See Opp. at 3 (citing authorities, including E. Cabraser & A. Steinman, What is a Fair Price for
27   Objector Blackmail? Class Actions, Objectors, and the 2018 Amendments to Rule 23, 24 Lewis &
     Clar L. Rev. 549 (2020)).
28
     _____________________________________________________________________________
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 1   anything, Bednarz benefits from the settlement in that it brings finality to issues related to
 2   distribution.
 3           The modest payment to Andrews will not impact the size of the settlement fund itself (or
 4   the amount of attorneys’ fees paid to class counsel in this matter). Andrews Settlement ¶ 1. This
 5   means that the funds available for distribution to the class are exactly the same with or without the
 6   Andrews Settlement. Mr. Bednarz’s share of the settlement proceeds is not diluted one cent by the
 7   individual settlement with Objector Andrews. Because he is not legally aggrieved, Mr. Bednarz
 8   lacks Article III standing to oppose the proposed resolution.
 9   III.    Rule 23(e)(5)(B) Does Not Permit “Objections” to a Proposed Individual Settlement
             with an Objector
10

11           Mr. Bednarz’s purported Opposition to the proposed individual Rule 23(e)(5)(B)
12   settlement also fails to identify any language from Rule 23 itself that permits such an objection.
13   Mr. Bendarz assumes he may freely file motions and other papers in the District Court, but
14   unnamed class members are parties only for “some purposes and not for others.” Devlin v.
15   Scardelletti, 536 U.S. 1, 10 (2002). Mr. Bednarz identifies no impact on his “own interests” that
16   might justify affording him party status for the purpose he assumes here. Id.; see Gibson v.
17   Chrysler, 261 F.3d 927, 940 (9th Cir. 2001) (“a class action, when filed, includes only the claims
18   of the named plaintiff or plaintiffs”). While Rule 23 permits absent class members the right to
19   object to a proposed classwide settlement under Rule 23(e)(5)(A), that provision does not
20   contemplate inter-objector crossfire in the form of challenges to requests that the Court approve a
21   proposed individual settlement pursuant to Rule 23(e)(5)(B).
22           Putting aside the lack of any such authorizing language in the Rule itself, the Advisory
23   Committee Notes similarly do not state any basis for deeming Mr. Bednarz’s filing permissible or
24   appropriate. While the Notes regarding the 2018 amendments discuss the Rule’s new requirement
25   that payments made in connection with individual settlements with objectors require court
26   approval, they provide no basis for a finding that absent class members may lodge objections to
27   such settlements. See Fed. R. Civ. P. 23(e)(5)(B), advisory committee’s note (2018). Indeed, the
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     _____________________________________________________________________________
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 1   Committee vested district courts with full discretion in noting that “[t]he district court is best
 2   positioned to determine whether to approve such arrangements . . . .” Id. Given that Mr. Bednarz
 3   is the absent class member, it is his burden to identify some basis in the Rules that would permit
 4   such a filing in this court. He has failed to do so.
 5                                              CONCLUSION
 6           The Court unquestionably has discretion to approve the proposed Rule 23(e)(5)(B)
 7   payment to Objector Andrews, and should do so because the payment will not impose any cost on
 8   the class or deprive it of any benefit it is owed; is justifiable in light of the service Objector
 9   Andrews has rendered throughout the lawsuit in framing certain issues for the Court; and will
10   advance the class’s interest by achieving a full and final resolution of outstanding objections,
11   thereby unblocking the logjam on distribution of the Round 2 settlement proceeds. For all of these
12   reasons, the Court should approve the proposed individual settlement with Objector Andrews.
13

14   Dated: February 14, 2022
                                             Respectfully submitted,
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15                                            Class Counsel for Indirect Purchaser Plaintiffs

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17                                         FILING ATTESTATION

18             Pursuant to Civil Local Rule 5-1(i)(3), I, Adam J. Zapala, attest that all signatories listed,

19   and on whose behalf the filing is submitted, concur in the filing’s content and have authorized the

20   filing.

21                                                   /s/ Adam J. Zapala
22                                                   Adam J. Zapala
                                                     Cotchett, Pitre & McCarthy, LLP
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     IPPs’ Reply in Support of Motion to Approve Settlement Pursuant to Fed. R. Civ. P. 23(e)(5)(B);
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